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Atlantic Shores Offshore Wind, LLC


                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


                                                )
SAVE LONG BEACH ISLAND AND ROBERT )
STERN,                                          )
                                                )
                        Plaintiffs,             )   Case No.: 3:23-cv-01886-ZNQ-JBD
                                                )
                        v.                      )   Judge Zahid N. Quraishi
                                                    Magistrate Judge J. Brendan Day
                                                )
U.S. DEPARTMENT OF COMMERCE; GINA               )
                                                    ORDER GRANTING MOTION
RAIMONDO, in her official capacity as Secretary )
                                                    TO INTERVENE
of Commerce; NATIONAL MARINE                    )
FISHERIES SERVICE; and JANET COIT,              )
in her official capacity as Director, National  )
Marine Fisheries Service,                       )
                                                )
                        Defendants.             )
                                                )
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          Upon consideration of the Motion to Intervene filed by Proposed Intervenor-Defendant

 Atlantic Shores Offshore Wind, LLC (“Intervenor”), the relevant briefing and legal authorities,

 and the other submissions before this Court,

          IT IS HEREBY ORDERED that Intervenor’s Motion to Intervene as of Right under

 Federal Rule of Civil Procedure 24(a) is GRANTED; and it is further

          ORDERED that Intervenor shall file its Answer or other responsive pleading by the

 same deadline as Federal Defendants or three days after the entry of this Order, whichever is

 later.

          SO ORDERED on this 19th day of May, 2023.




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